  Case 1-17-01085-ess                  Doc 183           Filed 01/16/20             Entered 01/16/20 13:29:21




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                                                   January 16, 2020




VIAECF
Hon. Elizabeth S. Stong
U.S. Bankruptcy Court, EDNY
Conrad B. Duberstein Courthouse
271-C Cadman Plaza East - Suite 1595
Brooklyn, NY 11201-1800

       Re:       Homaidan v. Navient Solutions, LLC et al. , No. 17-1085-ESS

Dear Judge Stong:

        The parties have agreed to schedule the argument with regard to the class
certification motion in this action on March 24, 2020 at 2:30 p.m. Defendants will file
their answering papers by February 21, 2020 and Plaintiff will file her reply on March 18,
2020.

         We had previously written to you December 19, 2019, advising you that we wish
to have the preliminary injunction motion heard on February 18, 2020, Defendants have
agreed to brief both the preliminary injunction motion and the motion for summary
judgment at the same time, given the close relationship between the issues raised on the
preliminary injunction relating to likelihood of success on the merits and the issues raised
in the summary judgment motion. The parties are, therefore, prepared to argue both the
preliminary injunction motion and the summary judgment motion on February 18, 2020 if
that is acceptable to the Court.




GFC/slb

cc via ECF: All Counsel of Record



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